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 1

 2                                UNITED STATES DISTRICT COURT

 3                                       DISTRICT OF NEVADA

 4    RONALD J. ALLISON,                                          Case No. 2:21-cv-01784-APG-NJK

 5                   Plaintiff,
                                                                                ORDER
 6           v.

 7    STAFF & STEIN FORENSICS UNIT,

 8                   Defendant.

 9

10   I.     DISCUSSION
11          On September 27, 2021, Plaintiff, an inmate currently located at Southern Nevada Adult

12   Mental Health Services, submitted a civil rights complaint under 42 U.S.C. § 1983. Docket No.

13   1-1. Plaintiff has not submitted a complaint in compliance with Local Special Rule 2-1 or an

14   application to proceed in forma pauperis or paid the full $402 filing fee in this matter.

15          Complaint

16          The Court notes that Plaintiff's document at Docket No. 1-1 does not comply with Local
     Special Rule 2-1 ("LSR 2-1"). Under LSR 2-1, a civil rights complaint filed by a person who is
17
     not represented by an attorney must be submitted on the form provided by the court or must be
18
     legible and contain substantially all the information called for by the court's form. As such, the
19
     Court grants Plaintiff a one-time extension until on or before November 30, 2021 to submit
20
     complaint to the Court in compliance with LSR 2-1. The Court will also provide Plaintiff a copy
21
     of the Court's § 1983 complaint form with instructions.
22
            Application to Proceed in Forma Pauperis
23
            With his September 27, 2021 filing, Plaintiff submitted a letter stating that the officials at the
24
     facility where Plaintiff is currently located would not fill out his financial sheet, because he has no
25
     account. Docket No. 1-2. In the event Plaintiff is having difficulty obtaining the required financial
26
     certificate and inmate account statement for the previous six-month period from facility officials,
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 1   Plaintiff shall file a declaration detailing when he requested the documents, whom he spoke to about

 2   the status of the documents, whom he followed up with after he did not receive the documents, and

 3   their responses. Plaintiff’s declaration shall include dates of his requests, dates of his follow-up

 4   requests, names of the facility officials that he spoke to about the matter, and their responses. If

 5   Plaintiff’s declaration demonstrates that he has done all that was possible to acquire the documents

 6   from facility officials, the Court will consider his application to proceed in forma pauperis

 7   complete. 1

 8          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to commence a

 9   civil action may apply to proceed in forma pauperis, which allows the inmate to file the civil action

10   without prepaying the full $402 filing fee. To apply for in forma pauperis status, the inmate must

11   submit all three of the following documents to the Court:

12          (1) a completed Application to Proceed in Forma Pauperis for Inmate, on this Court’s

13          approved form (i.e. pages 1 through 3 with the inmate’s two signatures on page 3),

14          (2) a Financial Certificate properly signed by both the inmate and a facility or jail official

15          (i.e. page 4 of this Court’s approved form), and

16          (3) a copy of the inmate’s facility or jail trust fund account statement for the previous

17          six-month period. If Plaintiff has not been at the facility a full six-month period, Plaintiff

18          must still submit an inmate account statement for the dates he has been present at the facility.

19          Accordingly, the Court grants Plaintiff a one-time extension until on or before November

20   30, 2021 to file a fully complete application to proceed in forma pauperis containing all three of the

21   required documents or, alternatively, the first three pages of the application to proceed in forma

22   pauperis and a declaration detailing the efforts he took to acquire the financial certificate and inmate

23   account statement from facility officials. Absent unusual circumstances, the Court will not grant

24   any further extensions of time. If Plaintiff does not file a fully complete application to proceed in

25
     1
             Plaintiff must still submit the first three pages of the application to proceed in forma pauperis
26   on this Court’s approved form with his declaration. If Plaintiff does not submit the first three pages
     of the application to proceed in forma pauperis with the declaration, the Court will recommend
27   dismissal of this case without prejudice for Plaintiff to open a new case when he is able to acquire
     the required documents.
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 1   forma pauperis with all three required documents or, alternatively, the first three pages of the

 2   application to proceed in forma pauperis and a declaration detailing the efforts he took to acquire

 3   the financial certificate and inmate account statement from facility officials on or before November

 4   30, 2021, the Court will recommend dismissal of this case without prejudice for Plaintiff to file a

 5   new case with the Court when Plaintiff is able to acquire all three of the documents needed to file a

 6   fully complete application to proceed in forma pauperis or, alternatively, the first three pages of the

 7   application to proceed in forma pauperis and a declaration detailing the efforts he took to acquire

 8   the financial certificate and inmate account statement from facility officials.

 9          A dismissal without prejudice means Plaintiff does not give up the right to refile the case

10   with the Court, under a new case number, when Plaintiff has all three documents needed to submit

11   with the application to proceed in forma pauperis or, alternatively, the first three pages of the

12   application to proceed in forma pauperis and a declaration detailing the efforts he took to acquire

13   the financial certificate and inmate account statement from facility officials. Plaintiff may choose

14   not to file an application to proceed in forma pauperis and instead pay the full filing fee of $402 on

15   or before November 30, 2021 to proceed with this case.

16          The Court will retain Plaintiff’s civil rights Complaint, Docket No. 1-1, but the Court will

17   not file the Complaint unless and until Plaintiff timely files a fully complete application to proceed

18   in forma pauperis with all three documents, or, alternatively, the first three pages of the application

19   to proceed in forma pauperis and a declaration detailing the efforts he took to acquire the financial

20   certificate and inmate account statement from facility officials, or pays the full $402 filing fee.

21   II.    CONCLUSION

22          For the foregoing reasons, IT IS HEREBY ORDERED that the Clerk of the Court will send

23   to Plaintiff the approved form for filing a § 1983 complaint, instructions for the same, and a copy

24   of his original document at Docket No. 1-1.

25          IT IS FURTHER ORDERED that Plaintiff will have until on or before November 30, 2021

26   to submit a complaint to the Court in compliance with LSR 2-1.

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 1          IT IS FURTHER ORDERED that, if Plaintiff does not file a complaint in compliance with

 2   LSR 2-1 on or before November 30, 2021, this case will be subject to dismissal without prejudice

 3   for Plaintiff to refile the case with the Court, under a new case number, when Plaintiff is able to

 4   file a complaint in compliance with LSR 2-1.

 5          IT IS FURTHER ORDERED that the Clerk of the Court will send Plaintiff the approved
     form application to proceed in forma pauperis by an inmate, as well as the document entitled
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     information and instructions for filing an in forma pauperis application.
 7
            IT IS FURTHER ORDERED that, on or before November 30, 2021, Plaintiff shall either
 8
     pay the full $402 filing fee for a civil action (which includes the $350 filing fee and the $52
 9
     administrative fee) or file with the Court:
10
            (1) a completed Application to Proceed in Forma Pauperis for Inmate on this Court’s
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            approved form (i.e. pages 1 through 3 of the form with the inmate’s two signatures on page
12
            3);
13
            (2) a Financial Certificate properly signed by both the inmate and a facility or jail official
14
            (i.e. page 4 of this Court’s approved form); and
15
            (3) a copy of the inmate’s facility or jail trust fund account statement for the previous
16
            six-month period. If Plaintiff has not been at the facility a full six-month period, Plaintiff
17
            must still submit an inmate account statement for the dates he has been present at the facility.
18
            IT IS FURTHER ORDERED that, if Plaintiff is not able to obtain his financial certificate
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     and inmate account statement from facility officials, Plaintiff shall file the first three pages of the
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     application to proceed in forma pauperis together with a declaration detailing the efforts he took to
21
     acquire the financial certificate and inmate account statement from facility officials.
22
            IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete application to
23
     proceed in forma pauperis with all three documents, or, alternatively, the first three pages of the
24
     application to proceed in forma pauperis and a declaration detailing the efforts he took to acquire
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     the financial certificate and inmate account statement from facility officials, or pay the full $402
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     filing fee for a civil action on or before November 30, 2021, the Court will recommend dismissal of
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 1   this action without prejudice for Plaintiff to refile the case with the Court, under a new case number,

 2   when Plaintiff has all three documents needed to file a complete application to proceed in forma

 3   pauperis.

 4          IT IS FURTHER ORDERED that the Clerk of the Court shall retain Plaintiff’s civil rights

 5   Complaint, Docket No. 1-1, but the Court will not file it at this time.

 6          DATED: October 1, 2021.

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                                                   NANCY J. KOPPE
 9                                                 UNITED STATES MAGISTRATE JUDGE
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